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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



In re:                                          CHAPTER 11

MIDNIGHT MADNESS DISTILLING LLC                 CASE NO. 21-11750 (MDC)



             ORDER GRANTING DEBTOR’S MOTION TO PAY PRE-PETITION
               WAGES, SALARIES AND OTHER RELATED OBLIGATIONS

         Upon consideration of the Debtor’s Motion to Pay Pre-Petition Wages, Salaries and

Other Related Obligations (the “Motion”), and after an opportunity for hearing on same, it is

hereby

         ORDERED that the Motion is GRANTED, and it is further

         ORDERED that the Debtor is permitted to pay pre-petition wages, benefits and related

taxes for the payroll periods commencing June 16, 2021 through the Petition Date to the

Debtor’s employees; and it is further

         ORDERED that the aforementioned payments shall not exceed $12,850.00 per employee.


Dated: _____________________                 BY THE COURT:


                                             __________________________________
                                             Magdeline D. Coleman
                                             Chief United States Bankruptcy Judge




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